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                                           UNITED STATES DISTRICT COURT
                                                           Southern District of Indiana
                                                                Laura A. Briggs, Clerk of Court

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                                                                     November 13, 2015


 Gino J. Agnello, Clerk
 United States Court of Appeals
 219 South Dearborn St, #2722
 Chicago, IL 60604


 RE:       UNITED STATES OF AMERICA v. MARK WHITE
           USCA No. 15-2812
           USDC No. 1:98-cr-00038-LJM-MJD


 Dear Mr. Agnello:

 Attached to this email message, please find the Supplemental Record in the above referenced
 case, sent per the “Notice to Transmit Record on Appeal” dated November 13, 2015. The
 Supplemental Record consists of:

            2          Vols./Files of Sealed Documents




                                                           Sincerely,
                                                           Laura A. Briggs,
                                                           Clerk of Court

                                                           By Laura Townsend, Deputy Clerk
                                                           812-542-4511




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